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            10       UNITED BEHAVIORAL HEALTH and
                     UNITEDHEALTHCARE INSURANCE COMPANY
            11

            12                                IN THE UNITED STATES DISTRICT COURT

            13                            FOR THE NORTHERN DISTRICT OF CALIFORNIA

            14                                          OAKLAND DIVISION

            15       LD, DB, BW, and CJ, on behalf of themselves   CASE NO. 4:20-cv-02254-YGR
                     and others similarly situated,
            16                                                     UNITED DEFENDANTS’ STATEMENT
                                      Plaintiffs,                  OF RECENT DECISION
            17
                           v.                                      [L.R. 7-3(d)(2)]
            18
                     UNITED BEHAVIORAL HEALTH, a
            19       California Corporation,
                     UNITEDHEALTHCARE INSURANCE
            20       COMPANY, a Connecticut Corporation, and
                     MULTIPLAN, INC., a New York Corporation,
            21
                                      Defendants.
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Gibson, Dunn &
 Crutcher LLP
                                       UNITED DEFENDANTS’ STATEMENT OF RECENT DECISION
                                                   CASE NO. 4:20-CV-02254-YGR
                           Case 4:20-cv-02254-YGR Document 423 Filed 04/04/24 Page 2 of 2



                 1          Pursuant to Civil Local Rule 7-3(d)(2), Defendants UnitedHealthcare Insurance Company and
                 2   United Behavioral Health respectfully submit this Statement of Recent Decision regarding a near-
                 3   identical case pending before Judge Davila, RJ v. Cigna Health & Life Ins. Co., No. 5:20-cv-02255
                 4   (N.D. Cal.). As stated in Defendants’ Opposition to Plaintiffs’ Renewed Motion for Class Certification
                 5   in this case, on February 12, 2024, Judge Davila denied the Cigna plaintiffs’ motion for class
                 6   certification. RJ v. Cigna, Dkt. 227. Two recent developments in Cigna are relevant to Plaintiffs’
                 7   Renewed Motion for Class Certification in this case.
                 8          First, on March 27, 2024, the Ninth Circuit denied plaintiffs’ Rule 23(f) petition for leave to
                 9   appeal the district court’s class certification order. RJ v. Cigna, Dkt. 233 (attached hereto as Exhibit 1).
            10       Second, on April 1, 2024, Judge Davila denied plaintiffs’ motion for leave to file a renewed motion for
            11       class certification. RJ v. Cigna, Dkt. 234 (attached hereto as Exhibit 2). The plaintiffs’ motion offered
            12       to propose “narrower subclasses” that address Judge Davila’s finding that Cigna’s UCR obligations
            13       under class members’ disparate plans lack commonality. Id. at 2. Judge Davila declined to grant leave
            14       for plaintiffs to file a renewed motion, stating that “every court asked to certify a class based on alleged
            15       ERISA § 502(a)(1)(B) violations of UCR obligations has consistently denied certification,” and
            16       concluding that the plaintiffs “have not shown an intervening change in controlling law, emergence of
            17       new material facts,” “clear error in the Court’s order denying class certification,” or “any other basis
            18       justifying a renewed class certification motion.” Id.
            19

            20       DATED: April 4, 2024                                    Respectfully submitted,
            21                                                               GIBSON, DUNN & CRUTCHER LLP
            22
                                                                             By: /s/ Geoffrey Sigler
            23                                                                   Geoffrey Sigler
            24                                                               Attorneys for Defendants UNITED
                                                                             BEHAVIORAL HEALTH and UNITED
            25                                                               HEALTHCARE INSURANCE COMPANY
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                                          UNITED DEFENDANTS’ STATEMENT OF RECENT DECISION
                                                      CASE NO. 4:20-CV-02254-YGR
